

Pigott v J.C. Happy Garden Corp. (2025 NY Slip Op 02022)





Pigott v J.C. Happy Garden Corp.


2025 NY Slip Op 02022


Decided on April 03, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 03, 2025

Before: Webber, J.P., Kennedy, Mendez, Higgitt, O'Neill Levy, JJ. 


Index No. 20667/17|Appeal No. 4021|Case No. 2024-01172|

[*1]Cecilio Pigott, Plaintiff-Appellant,
vJ.C. Happy Garden Corp., Defendant-Respondent, 218-204 East 165 Realty Corp., Defendant.
218-204 East 165 Realty Corp., Third-Party Plaintiff,
vBlack Cat KK, Inc., Doing Business as Chinese Restaurants, Third-Party Defendant-Respondent.


Cipriani &amp; Werner, P.C., Syosset (Kenneth B. Danielsen of counsel), for appellant.
Pillinger Miller Tarallo, LLP, Elmsford (Lauren R. Turkel of counsel), for respondent.



Order, Supreme Court, Bronx County (Joseph E. Capella, J.), entered on or about January 24, 2024, which denied plaintiff's motion to vacate the stipulation of discontinuance executed by plaintiff and defendant J.C. Happy Garden Corp., unanimously affirmed, without costs.
Supreme Court providently exercised its discretion in denying plaintiff's motion to vacate the stipulation of discontinuance as against Happy Garden. Plaintiff neither alleged nor demonstrated that Happy Garden violated the stipulation, that the stipulation was the result of fraud, that plaintiff's counsel erroneously entered into the stipulation, or that plaintiff's counsel lacked authority to discontinue the action against Happy Garden (see Ward v City of New York, 233 AD3d 599, 599 [1st Dept 2024]; Williamson v Delsener, 59 AD3d 291, 292 [1st Dept 2009]; Pak Chong Mar v New York Infirmary-Beekman Downtown Hosp., 161 AD2d 373, 373 [1st Dept 1990]).
We have considered plaintiff's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 3, 2025








